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EXHIBIT 9
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Drivers of the opioid crisis: An appraisal of financial
conflicts of interest in clinical practice guideline panels at
the peak of opioid prescribing

Sheryt Spithol! =, Pamela Leace, Frank Sulllven, Nay Persaud, Peter delesiotis, Liane Steiner
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Abstract

Gackgraund

Starting in the late 1990s, the pharmaceutical industry sought to increase prescribing of oplaids for chronic non-cancer pain.
Influencing the content of clinical practice guidelines may have been one strategy industry employed. In this study we assessed
potential ek of blag from financial conflicts of interest with ihe pharmaceutical Industry in guidelines for aploid prescribing for
.chronic ron-cancer palin published between 2007 and 2013, the peak of opioid preserbing.

Methods

We used the Guideline Panel Review (GPR) to appraise the guidelines Included in the 2014 systematic review and critical appralsal
by Nuckals ef af. These were English language opioid prescribing guidelines for adulls with chronic nor-cancer pain published
between July 2007 and July 2043, the peak of opiold prescribing. The GPR assigns ted flags to Items known to introduce potential
bias from financial conflicts of Interest, We operationalized the GPR by creating specific definitions for each rec fag. Two reviewers
independently evaluated each guideline. Olsagreements were resolved with discussion. We also compared our score to the critical
appraisal scores for averall quality from the study by Nuckols ef a.

Results

We appraised 13 guidelines, which received 43 red flags in total. Guidelines had 3.3 red flags on average (out af a possible seven)
with range from one to six. Four guidalines had misaing information, so red flags may be higher than reported. The guidelinas with
the highest and second highest scores for everall quality in the 2014 critl¢al appraisal by Nuckole ef a/. had five and three rad flags,
respectively.

Conclude

Our findings reveal that tha guidelines for opioid preacribing chronic non-cancer pain from 2007 to 2013 were al risk of bias
because of pervasive conficts of interest with the pharmaceutiogl Induatry and a paucity of mechanisms to address blas, Even
highly-rated guidelines examined In a 2014 systematic review and critical appraisal had many red flags.

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financial conflicts of Interest in clinical practice guideline panels at the peak of oploid preseribing. PLoS ONE 18(4}:
0227045. https-/dol.org/10.1371 Aournal pone.0227045

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Intraduction

Understanding the root causes of the oplold crisis may help pravent similar larogenic epidemics in the future. The pharmaceutical
industry's influence on physician preseribing, garticularly in Ganada and the US, appears to be a major cause of the crisis [1.21 In
the late 19908, Purdue Phanna started aggressively markellng if aploid, Oxycontin (oxycodone), for chranlé nan-cancer pain
(CNCF) through academic detailing and education sessions for physicians (3). Other pharmaceutical companies followad sui [4].
These activities have been linked to the rise In opioid preseriptions and the subsequent harms [3~/}. ee

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Gllnical practice guidelinas are another mechanism that the pharmaceutical Industry may have used to influence physicians’ opioid
prescribing practices. Clinical practice guidelines provide evidence-based clinical recommendations to irprove patient care and
outcomes [810]. They have a moderate impact on the behaviour of health care providers (11-131. A recent siudy found that the
2016 Ceritre for Disease Control (CDC) guidetine for oploid prascribing led ta declines In opioid prescribing [14]. Given the potential
impact of guidelines, the Institute of Madicing in its 2071 report “Clinical Practice Guidelines We Gan Trust,” recommends that
organizations that produce guidelines lake staps to mitigate blas, Thess steps Inchide electing guideline chalrs and committee
members without financial conflicts of inlerast, creating a multi<iisciplinary committes and ensuring a rigorous external raview (8),
These recommendations aligned with eadier guidance (15). Research has dernonsirated, however, that many guidelines do not
adhere to these recommandations, pacticularly independence from the pharmaceutical Industry [16-191

‘Te date, guidelines for opioid praseribing for CNCP have escaped scrutiny, For example, in 2074, well Into the opicid crisis and at
the peak of opioid prescribing (20-24), Nuckolg et al. published a systematic review and critical appraisai of guldaiines for opioid

prescribing for adults with CNCP. Other than raporiing the range of scores for editorial independance, it did not address potential
bias from financial coniilcts of interest with the pharmacesutical Industry (28). '

Our study objective was to assess the poiential risk of bias from financial conflicts of Interest with the pharmaceutleal industry i the
guidelines for oplold prescribing for chronic non-eancer pain thal were induded In the 2014 systematic review and critical appraisal
by Nuckols of af. 25].

Methods
Overview
We condusted an appralsal of the 14 clinical practice guidelines included In the 2014 systematic review and critleal eppralgal by

Nuckols et af. (28). (fable 1}. For each guideline we compared our findings to their critical appraisal score for overall guideline
quality, This approach allowed us to bulid upon Nuckola ef al.'s work.

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Bats sources

We assessed the 1% quidelines for apiold prescribing for CNCP that were included in the Nuckols ef a/. 2014 systematic review and
critical appraisal [25]. Nuckols ef af. Included English language guidelines publishad batween 2007 and 2043 that addressed the
use of oplokts to ireat CNCP In adults. The guidelines had to be cllnical practice guidelines that included “yacommeandations
intended to optimize patient care that are informed by a systematic review of evidence and an assessment of the benefits and
harms of aitemative care opttons’ and were published alter 2006 [47]. To aseess the quality of the Nuckols review, two authors
(SMS and PL) independently rated the guidelinaa using the JE1 Critical Appraisal Checklist for Systematic Reviews and Research
Synthases [48]. Differences were resolved with discussion. The Nuckols review satisfied all checklist orlterla except for Ham 7:
“Were thare methods to minimize errors ia deta extraction?" For liern 7 the auihore do not mention any mathods fo mininize errors
in data extraction (9. dala extraction in duplication ar extraction double-chacked). There were no concerns about tha inclusion
criteria, earch strategy, criteria far appraising siudies, appraisal mathod and mathods to combine the dats.

for each guideline, we evaluated the same version that wae reviewed and appraisal by Nuckals ef af, In lwo cages we fad to
request the varsion of the guideline used by Nuckols ef al. from the sponsoring organization because it was no longer availabie
onlina (47,42). If the guideline did nol contain Information on the chair and commitles members’ conflicts of interest we contacted
the sponsdrlng organization or authors for ils information. We also used supplemaniary information on guideline methods when
avéilable froma the sponsoring organization (49,50). Since Indivituals and organizations often neglect to report canilicts of Interest
[81-83], we chacked independent sources. To determine if the sponsoring organization was @ professional society thal recelves
pharmaceutical industry funding or was a propratary company, bvo reviewers independently searched the organization's website
{including any webpages on sponsersiip and annual reports) to deterraine iF it received funds from the pharmaceutical industry. To
dgtermine if the conmiliee chatr had conflicts of interast in the two years prior te publication, iwo reviewers Indepandently
conducted a Pubmed search and a Googie search of the chalr's name to lock for this Information. For the Pubmed search wa
searched the author's name for any publications for the same year the guideline was published and checkad if thee listed any
conflicts of intarast, For the Google search, we searched the author's name with the term “conflict of interest” Wo reviewed the first
30 entries (hres pages) for information an conflicts at time of guideline publication and up te two years prior. We opted for conflicts
of interest up to two year prior because that was a common standard for conflict of interest reporting in 2007 to 2013 (415).
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for their critical appraisal Nuckols ef al, assessed guideline quality using the Appraisal of Guidelines for Research and Evatuation Il
(AGREE H) instrument, [84] and the systematic review supporting each guideline [25] using the A Measurement Tool to Assess
Systematic Raviews (AMSTAR) tool (651. Tha AGREE {1 instrument assesses the quality and reporting of practice guidelinas [84],
and it can algo be used to inform guideline development and reporting [56].

listruriint

To gulde our assessment of the risk of bias in guidelines, we used the Guideline Panei Review (GPR) {57}. The GPR was crated
by an international expert working group (the Guideline Panel Raview working group) in 2013 using a modifled Deiphl process (87).
The tool assigns rad flags to practice elements “known to infreduce potential bias" (57). The goal of the group was to Inform patients
and those that devalop, publish and use guidelines. The GPR reflects the standards created by the institute of Medicine for
developing trustworthy guidelines [8]. The GPR focuses on financial conflicts of interest, in particular those involving industry,
because industy-funded networks dramatically ampillfy findings that support its products and obscure those that do not (67,58).

Opsratandlizing the GFR

The GPR hae not been validated or operallonalized and at present ls descrlbad by the creatore as 8 “framework for future
developments” [57]. The developers also designed the tool to be used by the organization producing the guidelines and submitted
to the journal along with the guidelines. Journals would use the Information to decide whether or not te publish the guidelines. They
would aise publish the GPR along with the guideline. We found, however, that It was able to also provide us with a framework as
we appraised the guidelinas. Lenzer and colleagues alsa used thls approach to evaluate guidelines [97]. We operationalized the
GPR for our purposes by creating specific definitions for each red flag (lable 2) through several rounds of testing and discussion.
Differences were resolved through discussion. Our operationalized slataments vary in several places from how the GPR was
amployed by Lenzar and colleagues [57]. For financial conflicts of interest, we repart only on flnanclal conilicts of interest with
Industry, Other financial conflicts of Interest can have an impact-—dike professional conflicts--however, this was not the focus of our
study. The most challenging red flag to operationalize waa panel or corornittes stacking because I was very difficult lo determine
gach commitiae member's views prior to the guideline development. This may be easily accomplished if guideline sponsors asked
participants to self-report thelr views. However, it was not feasible for our assessment. Therefora, In discussion, wa decided wa
would use expartisa in chronic pain or addictions as a proxy for a balanced committee. This would ensure there were committee
mambers wito saw the benaliis of oplold presorlbing for CNCP and members who saw the Barns. We set a minimum of 10% of
committee members from each of these two categories, And ilnally, tha GPR also uses a “caution” rating for Hers that may be an
‘important part of guideline development, but for which there is not proof that bias is infroducec by ihe presence of that element”
We opted not fo report cautions because of the lack of evidence to support thease Hems.

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‘Tebly 2. Deseription of items an the Guideline Pana! Review (GPR} tool end GPR elements known to Introduces bias 167), and our operationatizad
and mociffed atatement,

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Sate exivsotlan

We created « data abstraction form using the GPR, All six reviewers independently pllotested the form on two guidelines. We
reviewed the results and modified the form based on taam feedback. Two reviewers then independently assessed each guideline
and completed the data abstraction form. Differences In opinion were reseived through discussions, and when needed, 9 third
reviewer (SMS) assisted In making the final decision.

Sufpula

Our outputs included: name of the guidaiing and sponsoring organization; locaton; date published: GPR red flags; sources for
compilation of GPR (official quidalina/supporiing documentafinformation on website/coneapondence with the sponsoring
organization and/or authors producing the guideline). Wa compared the AGREE II scores for overall quality from Nuckols ef al.’s
systematic review and critical appraisal (25] ta our findings. The overall quality score is a global score reported by reviewers after
tating all the domains of quality. [tis based on the other scorgs but is not calculated from those scores [25,54]. Wa did not compare
our findings te tha AMBSTAR scores from ihe study because AMSTAR assesses systematic raviews underpinning the guidelines, not

tha guideline Heel,
Bata ayoiosls
We displayed our results in tabular format to aummarize the number of red flags and uncertain Ileme dtarms which could not be

confidently appraised with available Informailan) for aach item. For each guideline we reported on the total number of red flags and
the AGREE ff scores for overall quailiy fram Nuckole ef al.'s review (28),

Results

Overview
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\We appraised the 13 guidelines in the systematic review and critical appraisal by Nuckols of al. (fable 1). The guidelinas, ona
Canadian and the rest American, were published batwaen 2009 and 2012. We assigned 43 red flags in total to the 13 guidatines

(Fable 3).

‘Table 3, Guideline Panel Review [GPA] [61] red flage Gadicatlag potential bias} in tha opioid prescribing for chrenle non-cencer pain (CNCP)
guidalings Included in Nuokols of af, 2074 systematic review and oritical appraisal [26].
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ine

Spenser

We assigned a red flag to four of the guidelines because the sponsoring organizalion was a professional society thal accepted
funds from the pharmaceutical industry (27,.31.32.45], and a red fag to the fifth one because the guideline was funded through an
unrestricted pharmaceutical grant [40]. Among the four professional seciaties thal accepted pharmaceutical industry funding, this
information was not declared in the quidalinas, bul wes jourd In supplementary sources.

Chabria}

We assigned a red flag to five guidelines because al least one of the committee chairs received funding from the phammaceulical
industry in the two years prior to its publication [27,30.95.40), all bul one [38] fram opioid manufacturars. We aiso assigned a rad
flag to a quidaline because the co-chair was on the hoard of directora of patient advocacy group that receivad ovar 90% of its
funding from the pharmaceuticat industry [45], In three of the five guidelines that received a red flag, canticts of interest infomation
wae ailher not declared, or not stated in the guideline or available from the aponsoring orgatization, but were fourtd in other source
documents (27,40,451. We assigned an uncertain rating to one guideline beacause its sponsor did not report the names of commities
chairs, and we ware unable to contact the organization (39),

Canmniies members

We assignad a red flag to thrae guidelines because at least two of the canunittee members had received funding from ine
phartiaceufical industry In the wo years prior to its publleadon (27.29.48). Wa assigned an uncertain rating to four quidelines
bacause thay did not contain conflict of interest declarations, and we were either unable fo cantact te spengor or authors (39,40);
ar the sponsoring organization daciined to provide the Information (32), or only provided lenited Information (48).

Panel stacking

We assigned a red flag to six guidelines because they had avidence of “panel atacking”” the exclusion of members likely to have an
opposing view [26,29,32.41,.42,461, These six guidalines bad less than 10% of their members with expertise in addiatlona, For one
guideline we were not able to detennine if there was panel stacking because information on ihe committees members was not
incluctad in the guideline and we were not able ty contact the author or guideline sponsor [40].

Bathantatog st

Wa assigned a red flag to seven guidelines bhacause no methodolagist was mentioned, ar ihay were not a chalf or part of an
oversight commities for mathodulogy [27,33,38-42.46).

Extemal mview

We assigned a red flag to four guidelines because they did not undarge a formal external review ($2.98.40.42). Per two guidelines,
information on the external review was located In supplementary materials (26.45).

Composition

Finally, only one guideline cormmittes was both multi-disciptinary and included patient representatives, and therefore was not
assigned 4 red flag [44].

indfviduel qokletines

The umber of red flags for an Indivkiual guideline ranged from one to six (out of a possible seven) (see Table 4 for more details),
Maan and median red number of fags for guidelines were 3.3 and 3.0, respectively, Since we were unable to obtain conflict of
interest information from the aulhore or sponsoring organization of four guidelines, the number of rad flage ara likely higher than
reported. The guidelines with the four highest AGREE II scores for overall quality (ROUSS)(25145) hed five, three, two and three red
flags, respectively. The guidalinas with the lowes! four AGREEH scores for overall quatity [32] (39)/4 0/48), head four, three, five and
three red flags, respectively.
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Table 4, Guideline Panel Review (GPR) B71 rad Hags (Indicating potential blag} in the opioid preseribing for chronie noncancer pain (ONCP)
guidelines Includad In Nuckots sf al. 2014 systematls review and critical appraisal (28).
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Discussion

Our appraisal demonstrates that the pharmaceutical industry had a pervasive presence in clinksal practice guidelines for oploid
prescribing for CNC from 2007 to 2013, the paak of opioid prescribing (20-24). Additionally, arganizations iat produced the
guidelines failed to regularly employ machanisets, such as appointing a methodologist in a lead role or conducting an external
raviow--te mitigate potential bias from industry Invelvernent, Even guidelines that had high AGREE It acores for overall quality
{indleating rigour in devalapment and reporting of the guideling} (20), had many red flags in our appraisal because of potential blas.
Many guidelines also had missing or incomplete information on the sponsoring organization's funding sources, and on panel
manibers' conflicts of interest, And finally, In a number of cases, guidelines provided Incomplate or Inaccurate Information about
financial conflets of interest. As a result, the appraisal ilkely provides a conservative estimate of the potential for bias.

To our knowledge, this is the flat study to demonstrate tha pervasive présence of the pharmaceutical industry in guidelines for
opioid prescribing for CNCP. This aligns with past regearch showing the pharmaceutical industry's widespread invelvemant In
guidelines on other topics (18, 4718.59.60]. A 2011 systamatic review of studies that examined ihe effact of conflicts of interest on
guidelines development and recommendations, found that most guidelines had committee members with conflicts of interest (58).
Thase conflicts of interest with the pharmaceutical industry can affect the attitudes and bahaviour of individuals and organizations.
individuals with mora confllcts of interest wilh phanvaceullcal comparies are mora fkely to espouse Industry-fiendly positions and
preseriba more drugs (64-63). Organizations with more financial conflicts of interest are more Ikely to make recommendations that
would benefit Industry [87.64.65]. Therefore, bias In guidelines for aploid prascribing for CNGP may have led to Industry-friendly
racommendations contributed to high rates of oplold prescribing. These findings are particularly conceming because risk of bias
from industry presence in opioid prascribing guidelines appears to ba ongoing, the 2017 Canadian Guideline for Oploide for Chronic
Non-Cancer Pain had several members with confiicts of interest, including one who had been a speaker for Purdue Pharma

(66.87).

Our finding that guidelines thal scored high for overall quality on the 2044 cfical appraisal by Nuckols of al. 28] had many red
flags aligna with findings in a sludy by Eady ef af. [68]. In an appraisal of guidelines on trealing acne, the auihors reported that
using the AGREE ff tool during guideline development did not have “as great an effect on guideline quality as expected. There is
considerable room far inipravement In acne treatment guidelings in order to galisfy the Instituie of Medicine's trustworthiness
ériteria aad avoid bias.” The AGREE II lool assesses conflicts of interests and strategies io mitigate bias differently then the GPR
and the Institute of Medicine. The GPR assigns a red flag ff the sponsoring organization or individuals on the guideling committees
have a financial conflict of interest. Tha AGREE fl, however, rates 3 guideling with conflicts of interast equally as one wilhoul, as
long ag thay ava reported and their potential inypact on the guideline described [Sd]. The medical iterature indicates, however, that
transparency Is not sufficient to eeduce bias and divestment from financial conflict Is a better strategy [869-72]. Additionally,
Nuckols of af did not usa supplementary sources for conflicts of interests and therefore did pot idantify the four sponsoring
organizations and three chairs who did ret accurately report financial conflicts of interest with the pharmaceutleal industry. This may
nave affected the AGREE II score for overall quality, Finally, the AGREE tl tool gives a guideline with 2 methodaloglat in a minor
role a high scora, whereas the GPR requires that the methodotogist have a major role. The literature supports having a
methodologist in a major rote, because whan content exports take the lead, evidence reviews are lass acnunite (73-76). These
findings indicate that the AGREE ti may sot accurately assess risk of bles from financial conflicts of Interest with industry,
particularly if appralsars do not seek out supplementary seurces to asseas for hidden conflicts of intarest.

Our finding that many guidelines either did nol report or accurately raport funding sources for the sponsoring érganization and
conflicts of interest fer Individuals fs consistent with other studies and media reports (83, 76-80). A recent ProPubllea and New ‘York
Times Investigation faund that a top cancer researcher consistently fallad t disclose millions in payments (87). Although some of
the guidelines in our study were published prior fo the 2017 recommendations from the Institute of Medicine, accurate disclosure
wag the accepted standard during the time period of these guidelines were publishad [82], Reasons that individuals and
organizations do not declare conflicts of Interest hae been poorly studied, but may Include: not understanding what to declare
(83.841 believing that 4 conflict Is Irrelevant [83]. and concerns about reducing tuat in the guideline user [85]. Indepandent
verification of conflicts of interest would help address reporting inaccuracies. Thle is easily done In the US with the Open Paymonts
database (available since 2074) that records all industry payments to physicians (20). A similar database, however, does not exist in
Cenada [86].

Limitations
tte Fi cent

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Our study allowed us to build on the past work of Nuckois af a. However, if also means we did aot create and conduct our own
search strategy. In particular, the Engliah lanquage requirement may have axcluded some guidelings that would have otherwise
met the inclusion criteria, itis aleo possible that Nuckals ef af missed English language guidelines (despite an appropriate search
strategy}. Additionally, although we used the same version of the guidelinas as in the systematic review by Nuckals ef af, wa did
not access the documents on the same dates. in two cases we had to order the version of the guideline used by Nuckols ef af. fram
the sponsoring organization because It was no longer available onilne [41,42]. Therefore, it is posalbie that the sources were
slightly differant arid this may have affected our findings. The GPR alse has some limitations. it is based on recommendations from
the Institute of Madicine and other evidence [8,57], but has not been used frequently to date and Is not a standardized or validated
tool. However, it does provide a structured approach to descriptively appraise clinical practica guidelines. Another limitation was our
difficulty in assessing for panal stacking. The GPR was designed for use by the guidelines organizer who would complete and
submit the GPR along with the guidelines for publication. In this situation, the committee could eaeily and accurately assess the
important views of the committee members prior to the craation of the guidelines. Conducting the assessment as extemal reviawers
is much more difficult. However, wa bellave cur approach (anguring an adequate number of chronic pain and addictions apeclaiists}
would ensure that there ware people on both sides of the opiold preseribing debate. Another ilritation is our Google search for
canilicts of interest net reported In the guidelines. It is possible that we missed conflicts of interest by not conducting a mora
exhaustive search. Therefore, our atudy fs likely a conservatlyva estimate of the potential for bias. And a final limitation Is that we
only examined conflicts of interest with the pharmaceutical Industry, We did not assess other financial conflicts of Interest (@.g. an
individual's Income from performing surgical procedures} [87167], which can fead te bias In guidelinas, but these were not the focus
of our study.

Conclusion and next steps

Our findings reveal that the clinical practice guidelines for opioid prescribing for CNCF from 2007 to 2013 were at risk of blas
bacause of pervasive conflicts of Interest with the pharmaceutical industry, and with a paucity of mechanisms to mitigate bias. Even
highly rated guidalines in a 2014 systematic review and critical appraisal had many red flags indicating a high risk of biag. More
research is naaded to understand the impact of the pharmaceutical Industry's presence via conflicts of Interest in opicid prescribing
guidelines. This is particularly Important given recent evidence of ongoing industry Involvement In guidelines far oplold preseribing
for CNCP.

Guidetine sponsors, researchers and guidellna users should consider using the GPR In guideline development and appraisal to
assess risk of bias. Guideline developers should search Independent sources where avallable, such as the Qpen Payments
database, to verify the conflicts of Interest reported by committee chairs and members.

Supporting Information

Si Table. Master Date Extraction Shest.
Table with information on sponsorfauthor, guidelines name, references, slaments known te Introduce blas, number of red flags and
uneertala rating and notes for each guideline.
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Acknowledgments

ie would tie to thank Susan Hurn, Research Agsaciate (Womens College Hospital Department of Famlly and Community
Medicine} fer reviawing and editing this paper.

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